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                           Exhibit 19
                           Part 2 of 2
                         to Deposition of Salam Fatohi
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MSR Usage and Activities

      Used Your MSR(s) in the last 12 months?                            MSR Use in Last 12 Months Compared to
                                                                                  Previous 12 Months




                                                                                            About the
                                                                                              same
                                                                                              41%




       MSR Usage: Number of Times in Last 12 Months

                     0%    20%         40%
                                                            • 88% of MSR owners used/shot their MSR(s) in the East 12
       1to 4 times                  33%                            months. Compared to the 12 months before that, 41% said
                                                                   their MSR use was "about the same." 38% said it was less.
     5to 11 times                   32%


    12 to 23 times          17%                             • Of those who used their MSR, the average number of times
                                                                   respondents used it in the Last 12 months is 14.
  24 or more times          18%
                                    Avg: 14 occasions
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 MSR Usage and Activities: Factors Preventing Usage

          Used MSR As Much As You Would Like in                        Rating: How important are the following in preventing you from using your
                    Last 12 Months?                                                          MSR as much as you'    d like?

                                                                                                                       2          3         4    5    6         7   8      9   10
                                                  ----p
                                        -
                                                                              Lack of ammunition availability                                                        8.0
                                ----




                                                                                        Cost of ammunition                                                          7.8


                                                                                      Not enough free time                                                6.2


                                                          Distance Imust travel for asuitable place to shoot                                    4.5


                                                                                         Cost of range fees
                                                                                                                1_________________     3.4

                                                                                                                1________________
• 3 out of 4 MSR owners said they did not use their                                       No one to go with                           3.2

    MSR as much as they would like over the past 12
                                                                                                      Other
                                                                                                                1______________     3.0
    months.


• The most important factors preventing owners
    from using their MSR more are related to
                                                                                                                           Scale:
    ammunition: lack of availability and cost.                                                                             1Nof at all important,          10- very important




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                                                                                                                                                                                42.
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         MSR Usage and Activities

                                          MSR Activities in Last 12 Months

                                                         0%        20%          40%          60%

                        Target shoot at aprivate range                                      54%

                        Target shoot at apublic range                                 49%

                       Target shoot on my/family land                          32%

                          Target shoot on friends land                   25%

                         While hunting on private land                   24%

                     Competition Shooting (i.e. 3Gun)
                                                                                                   • The most popular activity by MSR owners
                          While hunting on public land                                               is target shooting; 54% said they did at a
                      At paid course/training academy                                                private range, white 49% said they did at a
                                                                                                     public range.
While at work (i.e. Law Enforcement, Private Security)

                                                 Other
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 MSR Usage and Activities: Ammunition Used                                          -    Type

                 Ammo Used (% of MSR Owners Using)                                         Ammo Profile        -   Average % Breakdown Per MSR Owner


                        0%   10%   20%   30%    40%   50%   60%   70%    80%


 Budget factory loads                                                   72%




Premium factory loads                                               70%




   Handloads/reloads                            35%                                      "Budget" Factory Loads/Bulk     Premium factory loads,
                                                                                                 packs 42%
                                                                                                       ,                         31%


        Import ammo                            32%




    • Across all MSR owners, roughly 70% of                                                 • The ammo breakdown per MSR owner shows
      used budget factory loads and premium                                                   that 42% of ammo they used in the past 12
      factory Loads in the Last 12 months.                                                       months are factory loads/bulk packs.
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MSR Usage and Activities: Ammunition Used                                                -   Amount


                   Rounds of Ammo Fired Through MSR In Last 12 Months                                      Rounds of Ammo Fired (Grouped)
                                                                                               35%
                           0%        5%        10%     15%          20%    25%                         29.8%                                      30.1%
                                                                                               30%
                    None        0%                                                             25%                                 21.0%
                  1 50
                    -
                                          6%                                                   20%

              51-100                           9%                                              15%
                                                                                               10%
        101-200                                          15%
                                                                                                5%
      201-400                                                        19%
                                                                                                0%
      401-600                                                15%                                      1 200
                                                                                                       -          201-400      401   -   800   More than 800

      601-800                             6%

     801-1,000                                   10%
                                                                                             • The average number of rounds used by MSR
  1,001 —3,000                                          14%
                                                                                               owners in the Last 12 months is 907.
  3,001       -    5,000             4%

5,001             10,000
                                                                                             • Approximately half of MSR owners fired
          -




              10,001+
                                                                                               between 1and 400 shots in the Last 12 months,
                                                                                               the other half shooting more than 400 rounds.



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                                                                                                                                                 N144
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MSR Usage and Activities: Ammunition Used                                                     -     Projected Amount

Projected Rounds of Ammo Fired Through MSR In Next 12 Months                                               Projected Rounds of Ammo Fired (Grouped)
                                                                                                     40%
                                                                                                                                                         35%
                                0%          5%         10%         15%          20%                  35%
                                                                                                     30%       28%
                      None             2%                                                            25%                               21%




                                                                                                                            Ii
                  1 50-                     4%                                                       20%                    16%
                                                                                                     15%
          51      -       100                          9%
                                                                                                     10%
      101-200                                                12%
                                                                                                      5%
      201-400                                                             16%                         0%
                                                                                                             0 200        201-400    401       800   More than 800
      401-600                                                       15%
                                                                                                               -                           -




      601-800                                     7%

    801-1,000                                                 13%

  1,001 —3,000                                                       15%
                                                                                       • The average number of rounds that MSR owners
 3,001             5,000                     5%
                                                                                          project they will fire in the next 12 months is 984.
              -




5,001     -       10,000

              10,001+                                                                  • Over one-third of MSR owners anticipate firing more
                                                                                         than 800 rounds of ammunition in the next 12 months.




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     MSR Usage and Activities: Ammunition Quantity Purchased, Kept On Hand

             Quantity of MSR Ammo Typically Purchased                                 Number of MSR Rounds Owned/Kept on Hand
       40%                                    36%
       35%                                                                               0%             10%   20%       30%   40%     50%
       30%              25%        26%




                        II
       25%                                                                        None        1%
       20%
       15%    11%
                                                                                1 100    —         5%

              I
                                                                                  -




       10%
        5%                                               3%
                                                         —                    101-200                   7%
        0%
             1-50      51-199    200-499   500-1,999    2000+                 201-300                   7%
             rounds     rounds    rounds     rounds     rounds
                                                                              301-400              6%

                                                                              401-500                    9%
• When purchasing ammunition, the average number of
                                                                             501-1,000                            20%
  ammo rounds typically purchased by MSR owners is 637.
                                                                                 1001+                                              45%
• 36% of MSR owners typically purchase between 5OO-1999
  rounds.

• Nearly half of MSR owners own/keep more than 1
                                               ,000
  rounds on hand.
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MSR Usage and Activities: Ammunition Reloads

                                                                             Percentage of Ammo Reloaded
     Do you reload your own ammunition?
                                                                                 0%      5%          10%         15%     20%

                                                                           10%                                    14%

                                                                           20%                       9%

                                                                           30%                        9%

                                                                           40%                  7%

                                                                           50%                                    14%

                                                                           60%           4%

                                                                           70%            —6%

                                                                           80%                        10%

                                                                           90%                                          18%

     • 6out of 10 MSR owners do not reload their own                      100%                             10%
          ammunition.


     • Of the 40% who do, the average percentage of
          their ammunition they reload is 53%.




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                                                                                                                               iT1
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MSR Usage and Activities: Firearms Used
                                                       Firearms Used        -   Activities
                                                  •MSR              uOther guns                  •N/A

100%   -.
             95%

90%
                                                                                                        78%
80%
70%                                                                        64%                                                                        61%
                    61%                          61%                                                                              60%
60%
50%    -




                                    36%
40%-
                                          28%                                              25%
30%                                                                                        -      19%                                     21%

20%    -




10%
 0%
                                    Hunting varrrint      Long-range shooting (i.e.   Competition Shooting (i.e. 3   Hunting small game   Hunting big game
            Rifle Target Shooting
                                                                500+ yards)                      gun)




                   95% of respondents used their MSR to rifLe target shoot.




                                                                                                                                                             49
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                                                                                                                                                     SF-OOOLi48
                                                                                                                                                       -
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   MSR Usage and Activities: Target Shooting/Hunting


                     Typical Distance When Using MSR for
                                                                                                   Target Shooting     - Do you generally go alone or
                            Hunting/Target Shooting
                                                                                                                        with others?
                             0%    10%      20%   30%   40%   50%   60%   70%                50%
                                                                                                      43%

     Under 100 yards                                                                         40%
                                                    30%
                                                                                             30%                       27%           26%




                                                                                                                       II
      100-300 yards                                                   59%
                                                                                             20%
      301    -   500 yards             7%
                                                                                             10%
    501 -1,000yards          13%                                                             0%
More than 1,000 yards         0%                                                                   With 1other         Alone     With 2 4other
                                                                                                                                      -          With 5+ other
                                                                                                     person                          people         people
             Idon't know          1%




                                       The most frequent distance that MSR owners hunt/target shoot at is 100-300 yards.

                                       43% generally go target shooting with one other person. 27% go atone.




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Respondent Profile: Favorite Part About Owning MSR
Respondents were asked in an open-ended question to explain their favorite part of owning an MSR. Common themes in
answers include:

      FUN/ENJOYMENT OF SHOOTING
      • General enjoyment of shooting; relaxing
      • Challenge of target shooting, hunting; improving
      • Camaraderie with others, quality time with loved ones
      • Ability to customize/building from parts

      EXERCISING FREEDOM/2A RIGHTS
      • Represents freedom and America
      • Tradition and history

      EASE OF USE
      • Lightweight
      • Low-recoil
      • Accurate, versatile
      • Instills confidence

      RELIABLE
      • Craftsmanship and engineering
      • Peace of mind   excellent for home defense
                        -




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          Section 4IMSR Owner PrbfiIes




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                                                                             NSSF MSR Consumer Study                                     —    Report of Findings




Profile: Single MSR Owners vs Multi-MSR Owners
                                                     0%   10%   20%          30%         40%        50%    60%          70%        80%         90%         100%

                                         Under 45
                                          45 to 54
                                              55+                                                                                                                 Multiple-MSR owners are relatively more likely to be:
    a
    0S                             Range Member                                                           55%
    5                          Non-Range Member                                                             57%
                                                                                                                                                                  •   Ages 55+
                                                      -                  .----



-


                                    3tmes or less                             29%
                                                                                                                                             •Ownl MSR


q
                                      4to Iltimes                                            39%
                                     12to 23 times              16%                                                                           Own2+ MSR           •   Non-range members
                                        24+ tines                18%
                           MI8aryfLE. Background
                                                                                                                                                                  •   Those who used MSR 11 or less times in the Last 12
                                  Non-MiHar4 L.
                                              E.                                                                             69%
                                                                                                                 60%
                                                                                 30%
                                                                                                                                                                      months
                                            <$65k
                                    $65k to $lltk
                                         >$I 10 1k                                                                                                                    Not from amilitary/Law enforcement background
                                     No bathelan
                                       Bacstebrs+
                                                                                                                                                                      Those with an income under $65k, though there is fairly
                                Tart Shoot MSR                                                                                                   89%
                                Competition Shoot
                                                                                                                                                                      even distribution across ranges
                               Hunting Using MSR                                                   45%
    S                    Long-range shoothg MSR                                  29%                                                                                  Users of MSR for target shooting
    :0
                      Used MSR In last 12 Months                                                                                                     91%
             Use MSR in last 12 Morths -WorWLaw           5%
                  Not Used MSR In Last 12 Months                       22%                                                                                        •   Those with no kids at home
                                  Children in home
    :0
                               No children In hone                                                                                                                    Owners of aMSR(s) for home defense purposes
                                    Home def
                                           ense                                                                        64%
Os,
                                           Hunting                                        37%
                                                                                                                                                                      Those who plan to buy MSR accessories in the next 12
U                           ProfessonaIob-retated                 19%
                              Competition shooting                                                                                                                    months
                                     Recant Buyer                                                         54%
                     Premium MSR Buys ('$1500)                  16%
         Heavily Acacaserbed MSR (4+ ac cessories)               18%
                   High Spend Accessories ($5 00+)              •''                31%
                       Very Likelyto Buy New M5                                        34%
                           Pla nto Buy Acesseries




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                                                                                                                                                                                                            NSSFOOO452
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                                                                                 NSSF MSR Consumer Study                                         —    Report of Findings




Profile: Range vs Non-Range Member
                                                             0%   10%         20%           30%          40%     50%       60%           70%         80%     90%         100%

      Co                                     Own     MSR                                      28%
                                            On2+ MSR                                                                                                   80%
                                                                                                                                               72%
                                                  Under 45
           5(                                                                                                                                                                     MSR owners who are shooting range members are relatively
                                                  45 to 54                           2lj
                                                      55+                                                                  56%
                                                                                                                                                                                  more likely to be:
                                                                                                                46%
                                           3times or less
                                            4t0   Iltimes                                                                                                                         •   Owners of multiple MSRs
                                           12 to 25 times                                                                                                  •Range Member
                                               24+ times                13% 17 %
                                  Mflary/L.E. Background
                                                                                                                                                           •Non-Range Member
                                                                                                                                                                                  •   Ages 55+
                                        Non-M9tary/ L.
                                                     E.                                                                            63%
                                                                                                                                   62%
           C)
           B
                                                    465k
                                                                                                                                                                                  •   Occasional users of MSRs   -   4to 11 times times in the last
                                           $65k to $llll
                                               >$ 110.1 k
                                                                                                                                                                                      12 months
                                                                                               31%
                                            No bachelors
                                                                                                                             57%
                                             Bathelors+                                                                    55%                                                        Not from amilitary/Law enforcement background
                                       Tart ShootMSR
                                       Compettion Shoot                                            32%
                                                                         13%
                                      Hunting Using MSR
                                                                                                                                                                                  •   Those with an income over $llok
                                                                                                               43%
                                Long-range shooting MSR
                             Used MSR In Last 12 Months
                                                                                                                                                       -   83%
                                                                                                                                                                   82%            •   Users of MSR for target shooting
                    Use MSR in last 12 Morths -Woric/Law
                         Not Used MSR InLast 12 Months
                                        Children inhome                                                                                                                           •   Those with no kids at home
                                     No thiklrerr in hone                                                                   58%      65%
      003
                                          Home defense                                                                                                                            •   Owners of aMSR(s) for home defense, hunting,
                                                  Hunting
                                                                                                                                                                                      competition shooting
                                  Professlenalob-mlated
                                    CompeUim shooting                            20%                 35%
                                           Resent Buyer
                                                                                                                     490                                                          •   Those who plan to buy MSR accessories in the next 12
           a)
                           Premium MSR Buyer (>$1500)                   12%   17y'
                                                                                                                                                                                      months
                Heasily AseseserhedMSR (4+ accessories)
                          High Spend Accessories (00+)
                                                                                           25% 30%
                             Very Lilmlyto Buy New MSR
                                                                                              29
                                 Phi, to Buy Accessories
                                                                                                                                                     78%




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                                                                                  NSSF MSR Consumer Study                                     —   Report of Findings




          Profile: Infrequent vs Avid MSR Users
                                                       0%         20%            40%                  60%                  80%         100%             120%
                                        Own    MSR                              33%
I1)
                                                            10%
                                       0wn2+ MSR
                                                                                                                   67%           90%
                                                                                                                                                                       Avid MSR owners are relatively more likely to be:
                                           Under 45
      a,
                                            45 to 54

                                                55+                                                                                                                    •   Owners of multiple MSRs
      0)
      0,                                    Member
                                                                                                           59%                         •Infrequent:3 times orless
                                       Non-member                                                   53%                                                                    Ages 55+
>,                                                                                                                                     •Add 24+ times
tuJ                         MltaryiL.E. Background
                                                                                        43%
                                  Non-M0taryf L.E.                                                                  69%
                                                                                                                                                                           A member of ashooting range
      C                                       465k
      6
      8                               $65k to $1 10<
                                                                                                                                                                           Not from amilitary/Law enforcement background
                                          >$ I10.1k
                                                                                       42%
                                       No bachelors
                                                                                                     54%
                                         Badielors+                                                 52%
                                                                                                                                                                           Those with an income over $llok
                                 Tart Shoot MSR
                                                                                                                                       96%
                                 Cornpettim Shoot
                                                                                      40%
                                                                                                                                                                       •   Users of MSR for target shooting and hunting
                                Huntig Using MSR
                                                                                                             62%
                          Long-range shooting MSR
                                                                                              48%                                                                      •   Those with no kids at home
               Use MSR i
                       nlast 12 Months -Work'Law
                                                            10%
                                  Children in home
                                                                                                                                                                     •     Owners of aMSR(s) for home defense, hunting,
                               No children in hone
                                                                                                      56
                                                                                                                                                                           competition shooting
                                      Home dense
                                                                                                                     71%
                                            Hunting                     26%
                                                                                                       57%
                            Profess   nalob-<elated                                                                                                                  •     Those who recently bought aMSR in 2020 or 2021, plan to
                                                                          30%
                              Competition shooting
                                                                                              49%
                                                                                                                                                                           buy accessories or anew MSR in the next 12 months
                                      Rent Buyer
                                                                                                                   68%
                      Pmmkjnr MSR Buyer (>$ 1500)
      C

      a    Heasily Assssrbed MSR (4+ acesssdes)

                    High Spend Pcssories (00+)
  0.
                       Very Lilmlyto Buy New MSR
                                                                                                      56%
                           Pla nto Bay Accessor ie s



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Profile: Target Shooters vs Hunters
                                                   0%    20%              40%       60%         80%           100%          120%

                                    Own    MSR               11% 22 %
                                  0wn2+ MSR                                                           64%
                                       Under 45                                                                                       Target shooters and hunters have similar profiles. Hunters
                                        45 to 54                                                                                      are slightly more likely to be:
                                             55+
                                        Mem be r
                                   Non-member
                                                                                                                                      •    Owners of multiple MSRs
                                 3times a less           15% 21%
  >                                                                                                   sTargat ShootMSR
                                   4tolltimes                               3842%
                                                                                                      -Hunting Us in g M5
                                                                                                                                      •    Under 45 years old
                                  12 to 23 times
  Lt                                  24+ tthes
                        M5tarylLE. Bacigmund                               3%                                                         •   A frequent or avid user of MSRs
                               Non-Miitaiyi L.E.                                          6'
  0                                        465k                  2
                                                                                                                                      •   Those without abachelors degree
  E
                                  $65kt0 $1 10
                                       >$110.lk
                                   No bachelors                                                                                            Users of MSR for target shooting and hunting
                                     Badiebrs+

  .0                          Competition Shoot
                                                                                                                                          Those with kids at home
  I0                   Long-range shooting MSR                            35%
  9
  0                 Used MSR In Last 12 Months
  uJ
            UseMSRh last 12 Morths -WorWLaw                                                                                                owners of aMSR(s) for home defense, hunting,
                 Not Used MSR In Last 12 Months                                                                                            competition shooting
                               Children in home
                             No thlkiren in home                                          61%

                                  Home defense
                                                                                                                                           Those who are likely to buy anew MSR in the next 12
                                                                                                                                           months
 Os)
                                          Hunting
                         Pmfessbnalob-related
                            Competkiai shooting
                                   Rece nt Buyer ...
                   Premium MSR Buyer (>$1500)            1t43,
   C,

   (0
        Head, Aa,mserleed MSR (4+ accesseries)          ..

                 High Spend Pccessodes (00+)
  0                  VeryLilmlytoBuyNewMSR                                  35%
                         Plan to Buy Accessories
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                                                                                      NSSF MSR Consumer Study                                             -    Report of Findings




          Profile: Owners Who Haven't Used MSR In Last 12 Months
                                                         0%    10%   20%        30%          40%         50%              60%              70%     80%        90%     100%

ca                                         Own    MSR
                                                                                                   43%
                                         0wn2+ MSR                                                                                                  79%
                                                                                                                     -     57%
                                             Under 45                                28%
      a                                                                                                                                                                                Non-MSR users are relatively more likely to be:
      0,
                                              45 to 54
                                                                           2
                                                   55+
                                                                                                                               58%
      a,
                                                                                                   -




                                                                                                                                                                                           Owners of multiple MSRs
      a'                                      Member                                                                     54%
                                                                                           34%
                                         Non-Member
                                                                                                                                           66%
                              MitarriLE. Background                                                                                                                                        Ages 55 & older
                                     Non-Milta,yf L.E.                                                                                                               •Use

     C,                                          <$65k                                                                                                                    Non-User     •   Not amember of ashooting range
     E
     8                                  $65k to slick

                                                                                             35%
                                             '5110.1k
                                                                                                                                                                                       •   Those with ahousehold income of less than $llok
                                         No bachelors

                                           Bathers'-                                                             %
uJ                                                                                                           4
                                                                                                                                                                                      •    Those with no kids at home
                                   Tart Shoot MSR                                                                                                                   93%
                                   Competition Shoot                           25%
     .0
                                  Hunti
                                      ng Using MSR                                                     44%                                                                            •    Owners of aMSR(s) for home defense, some hunting
                           Long-range shooting MSR                              27%
               Use MSR in last 12 Months -WorWLaw             5%                                                                                                                      •    Those who plan to buy accessories for their MSR in the
                                     Children in home
                                                                                 25%
                                                                                             36%                                                                                           next 12 months
                                 No children in hone
                                                                                                                                           67%
                                       Home dstense                                                                                  83%
0(9                                                                                                                      56%
                                              Hunti
                                                  ng                                         36%
                              Profess iorralob-related

                                Competition shooting                                 29%
                                        Recent Buyer                                                             52%
                                                                                27%
                       Premium MSR Buyer ('$1500)

           Heastl,, Aa,rasorbedMSR (4+ accessories)
                     High Spend Accessories (00+)                                    30%
                         Very Likely to Buy New MSR                                    32%
                             Pla nto Bay Pcoessor ies,
                                                                                                                                             70%




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                                                                                                                                                                                                                                         57
                                                                                                                                                                                                                                S$OO.OlJ)
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           Profile: Premium Buyers (>$1500 spent on MSR) vs Non-Premium Buyers
                                                        0%           10%              20%         30%          40%          50%         60%          70%     80%      90%      100%

                                        Own    MSR                                                25%
                                                                                                                                                                       87%
                                      0en2+MSR
                                           Under 45                                                           34%                                                                                Premium MSR buyers are relatively more likely to be:
                                            45 to 54
                                                 55+                              -

                                                                                                                                                                                                 •   Owners of multiple MSRs
                                            Member                                                                                            60%

                                       Non-member

     a,                              3tbries or less                                        21%
                                                                                                                                                                                                 •   Ages 55 & older
                                                                                                                                                           •Premium MSR buyer (>$1,500)
                                       4 to 11 times
                                                                                                                                                           •Non-premium buyers ($1500 or less)
                                      12 to 22 times
                                                                                                                                                                                                 •   A member of ashooting range
     LL                                   24+ times                                         22%

                            MlitaryfLE. Background                                                              3 f,%
     L1J

                                   Non-Mirrtaryf L.E.                                                                                          6%                                                •   Regular users of MSRs, using 4to 11 times ayear
     4,                                        <$65k                                         23%
     B
     8                                $65kto$llck                                                                                                                                                    Those with ahousehold income greater than $llok
                                                         F------------'---'------•-----------------
                                                         ,                        .----.--




                                          4110.1k                                                                           46%
Cs
                                       No bachelors                                                                               50%

uJ —
                                         Bathelorsl-                                                                          -   50%                                                                With abachelors degree or more
                                 Tar getShootMSR
                                  Competttce Shoot                                                            33%
                                                                                                                                                                                                     Using MSR for target shooting, competition shooting, and
                                Hunting Using M5                                                                    39% 43%
                          Long-range shooting MSR                                                                   38%                                                                              hunting.
                        Used MSR In Last 12Months
               Use MSR in last 12 Morths -WorWLaw
                    Not Used MSR In Last 12 Months       !% 13%
                                   Children in home
                                No thildrenin home
                                      Home defense
                                              Hunting        -----   ----.   --




                             Professionalob-mlated                                            24%
                                                                                      16%
                               Competition shooting                                                                   40%

                                       Recent Buyer                                                                                       59%

           Heanily Amsesorkied MSR (4+ accessories)                                                     30%
                                                                                      15%
                                                                                                                                                    63%
                     High Spend Pccesaories (00+)
                        Very Liisslyto Buy New MSR                                                                  37%
                                                                                                        29%
                             Plan to Bay Pccessorlen
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Profile: Heavily Accessorized (4+ accessories) MSR Owners
                                                                  0%        10%               20%         30%          40%         50%            60%         70%      80%          90%    100%

                                                   Own MSR                                               25%
          5,
                                                 0wn2+ MSR                                                                                                                    82%
                                                                                                                                                                     75%

                     4,
                                                      Under 45                                           25%
                                                                                                                        38%                                                                         Owners of heavily accessorized MSRs are relatively more
                                                       45 to 54
                                                                                                                                                                                                    likely to be:
                     0)



                                                           55+
                                                                                                                                              53%
               0,
                                                       Member                                                                               51% 56%
                                                  Non-member                                                                ._4414         49%                                                      •   Owners of multiple MSRs
                                                3tines or less                                      22%                                                      •Heasrkj accessored (4+ accessories)
                                                  4to 11 times                                                         37    9%
                                                                                                                                                                                                    •   Under 45 years old
                                                                                                          -




                                                                                                                                                             •Few/no accessories
                                                 12 to 22 times                   --     14%       21%
                                                     24+ Bares                               4%   20%

               Z U4                    Mkary/L.E. Background                                                            3   9%                                                                      •   A member of ashooting range
                                              Non-M0laryf L.E .
                    4,                                  <$65k                ...l8%                  24%
                    E
                                                $65k to $1 ia                                                                                                                                       •   Frequent/avid users of MSRs
                    8                                                             -      -   --------




                a
                                                 No bachelor
                                                           s
                95                                                                                                                                                                                  •   Those with ahousehold income greater than $llOk
                                                   Bad,ebrs+                                                                           49% 52%
               Ui -                                                    -
                                                                                                                                  -.




                                            TartShootMSR                                                                                                                        15% 89%
                                            Competition Shoot                                                    32%                                                                                •   With abachelors degree or more
                    .4,
                                           Hunting Using M54                                                              4d'
                                     Long-range thoothg MSR                                                            37%
                                  Used MSR In Last 12 Months
                                                                                                    22%
                                                                                                                                                                                                    •   Using MSR for target shooting, competition shooting, and
                                                                                                                                                                                    97%   94%
                          UseMSR in last 12 Months -WorklLaw                                                                                                                                            hunting.
                               Not Used MSR In Last 12 Months                           13%
                                              Children in home
                                           No children in home
                                                                                                                                                                                                    •   Owners of aMSR(s) for home defense, competition
                                                Home defense                                                                                                  67%                                       shooting, hunting
                                                                                                                                                        9'
                                                       Hunting     --- --
                                       Profess bnalob-relaled                                 17% 22%
                                                                                                                                                                                                    •   Premium MSR buyers (>$1500 spent on Last MSR), high-
                                          Competition shosting                                           26%            38%
                                                 Recent Buyer                                                                          4     1%                                                         spenders on accessories ($600+) and very likely to buy
                                 Premium MSR Buyer (>$1500)                            129               26%                                                                                            new MSR in the next 12 months.
                               High Spend Pccessodes(00+)                                                                                               63%
                                   VeryLilmlytoBuyNewM54           ..... ........

                                                                                                               25%
                                       Plan to Bay Accessories                                                                                                  ,,,72% 75%




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Profile: Likely MSR buyers                                     0%               20%                    40%                     60%                80%               100%            120%

                                               Own     MSR
                                             0wn2+ MSR                                                                                                    85%

                                                  Under 45                                            33%
                                                                                      20%
                                                   45 to 54                    13%
                                                                                            26%                                                                                             Likely MSR buyers are relatively more likely to be:
                                                        55+                                                                               87%
                                                   Mem be r
                                              Non-member                                                                                                                                    •   Owners of multiple MSRs
            a,                               3tknes or less                                     28%
                                                                                                                                                                                            •   Under 45 years old
       0
                                              4t 11 times
                                             12 to 23 times                           20%                                                                       •Very lkeF to buy MSR
            U.                                   24+ thies                                      27%
                                                                                                                                                                eVery unlikely to buy MSR
       SUJj
       ,                           MI8aryILE. Background                                                                                                                                    •   Frequent/avid users of MSRs
                                          Non-Miltary! L.E.                                                                          6t
            0
            E
                                                      <$65k
                                                                                                                                                                                            •   Those with ahousehold income greater than $llOk
                                             $65k to $1 1k                                       3     %
            8
                                                  >$ 110.1k                                     28%
       a                                      No bachelors                                                             45%    53%                                                           •   With abachelors degree or more
       98
                                                Bathelorsi-
       uJ
                                         TargetShoot MSR                                                                                                         91%
                                                                                                                                                  75%
                                                                                                                                                                                            •   Using MSR for target shooting, competition shooting, and
                                         Compet it ion Shoot                                     29%
                                                                                    16%
                                        Hunting Using MSS                                                                    51%                                                                hunting.
            .42
            5                     Long-range shoothg MSR                                                   36%
            .                                                                    4%
                                                                                                                                                                    94%
                               Used MSR In Last 12 Months                                                                                           7%                                      •   Owners of aMSR(s) for home defense, competition
                      UseMSRii last 12 Morths -WorWLaw                   6%
                           Not Used MSR In Last 12 Months
                                                                                                                                                                                                shooting, hunting
                                                                                          23%
   a        0                             Children in home                                                       41%
       cE                                                                                   27%
       --    0                         No children in hone                                                                                  70%                                             •   Premium MSR buyers ($15OO spent on last MSR), high-
                                                                                                                                                  75%
       00
                                             Home dense
                                                                                                                                                                                                spenders on accessories ($600+) and very likely to buy
                                                     Hunting                                                           45%
                                    Professtenatob-related                                      28%
                                                                                                                                                                                                new MSR in the next 12 months.
                                                                              11%
                                      Competition shooting                                                  39%
                                              Rent Buyer                                                                                  69%
                                                                                            27%
                              Premium MSS Buyer ('$1500)
                  Heavily Aramsorised MSR (4+ acrassories)                    • 14% 19%
                            High Spend Accessories (00+)                                              33%
                                                                                          24%
             0
            0                  Very Liketyto Buy New MSR                                                                                                                  100%
                                                                    0%
                                    Plan to Bay Accessories                                                                                              82%
                                                                                                                               54%




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 Profile: Military/Law Enforcement vs Non-Military/Law Enforcement
                                                     0%          10%              20%           30%               40%           50%         60%      70%   80%         90%     100%

 U3                                   Own    MSR
                                                                                                    27%
29                                   0wn2+ MSR                                                                                                                   80%
                                         Under 45
      a
                                          45 to 54                                                                                                                                           MSR owners with amilitary/law-enforcement background are
                                              55+                                                                                            58%
                                                                                                                        -       47%                                                          relatively more likely to be:
                                          Member
                                     Non-member                                                                                  49%
      2%                            3times or less
                                                                                                                            -   48%                                                          •   Owners of multiple MSRs
                                                                                           23%                                                                   •Military/L.E. Background
                                     4to 11 times
                                                                                                                  33'
                                                                                                                                                                 •Non-MiItar4 L.E.
                                    12 to 23 times                                                                                                                                           •   55 years old or older
                                        24+ times                       -    14%l7%

                                            <$65k
      E
                                    $65kt0 $llck                                                              34%
                                                                                                                                                                                             •   Frequent/avid users of MSRs
      8
                                         >$110.lk
                                     No bachelors                                                                                                                                            •   Those with ahousehold income of $65-$11Ok
                                      Bathebrs+
                               Tart ShootMSR
                               Competition Shoot                                         21% 25 %                                                                      86%                   •   Those without abachelors degree or more
                              Hunting Using MSR                                                                     4(j4%

                         Long-range shooting MSR          _.                      _...
                                                                                                                                                                                             •   Using MSR for competition shooting or work
                      Used MSR In last 12 Months                                                                                                                        88%
                                                                                                                                                                        88%
             Use MSR in last 12 Morths -WorWLaw           1%           10%
                                                                                                                                                                                                 Owners of aMSR(s) for home defense or
                  Not Used MSR In Last 12 Months                            13*
      0
                                 Children in home                                                                                                                                                professional/job-related purpose
                              No children In horse
                                   Home defense                ---------.---------------.---------- -------                                    6l%
                                          Hunting
                           Profess bnaIob-mlated                                                     29%
                             Competition shooting                                                   2'
                                    Recent Bu yer
                                                                                                                                      51%
                    Premium MSR Buyer (>$1500)
      f HeaiIy Acesssorhed MSR (4+ accessories)
                   High Spend Accessories (00+)
  IL                  Very Likely to Buy New MSR                                                -     3       %
                          Plan to Buy Accessories




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Section 5CIusters/Segientation
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Clusters Analysis/Market Segmentation Explained

A Cluster Analysis is method used in market segmentation to help marketers identify specific consumer groups
based on aspecific set and sub-set of demographic and specific product usage patterns. Market segmentation means
dividing the market into distinct groups of individual segments or clusters with similar wants or needs and behaviors.

A market segment or cluster is asub-set of apeople, in this case, MSR owners with one or more characteristics that
cause them to demand similar product and/or services based on qualities of those products       such as usage activity
                                                                                                  -




and demographics. A true market segment meets all of the following criteria: it is distinct from other segments
(different segments have different needs), it is homogeneous within the segment (exhibits common needs), and
responds similarly to market stimulus and media.

In the MSR Study, we used the following variables to establish clusters:
• Age
•   Reasons for owning an MSR
•   Annual Household Income
•   Number of MSRs Owned
•   Military/Law-Enforcement Affiliation
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              MSR Clusters Summary
                                             1. Law Enforcement &                    2. Casual Hunter                     3. Affluent Gun Enthusiast            4. Low-Use Home Defense               5. Hunting Aficionado
                                                  Competition
% of owners                                                            18%                                    17%                                       23%                                   21%                            21%
% of MSRs                                                              24%                                    13%                                       27%                                    11%                           25%
Number of MSRs Owned                                                    3+                                                                               3+                                                                   3+
Age                                                              Under 45                               Under 45                                    45 to 54                                  55+                            55+
Reasons for Owning aMSR                     Professional use/job-related,                                Hunting                       Competition shooting                       Home defense                           Hunting
                                                             competition

Annual Household Income                                       $65 to $llok                                 465k                                      4110k                                  465k                          4110k
Military/Law-Enforcement Affiliation                          Military/LE.                      Non-Military/L.E.                          Non-Military/LE.           Slightly more Military/La              Slightly more non-
                                                                                                                                                                                                                     Military/LE.
MSR usage frequency (last 12 months)                   More than 24 times                         3times or less                              12 to 23 times                      3times or less                    4to 11 times
Range Member                                   Slightly more likely to be a                        Non-member                                Range Member                          Non-member                     Non-member
                                                           range member

Education                                  Slightly more likely to not have                        No bachelors                                 Bachelors+       Both bachelors+/no bachelors                       Bachelors+
                                                               abachelors

Introduction to MSRs                                    Military/job, Other     Family/friends, personal interest                           Shooting Range          Media/internet, military/job       Family/friends, personal
                                                                                                                                                                                                                        interest
MSR Activities In Last Year                Use MSR for work, competition           Hunting, long-range shooting                        Competition shooting                       Not Used MSR                          Hunting
                                                                shooting

MSR Purchase Behavior                       Very likely to buy MSR in next      Very likely to buy MSR in next 12       Premium MSR buyer (41500), heavily     Slightly less likely to plan to buy      Recent buyer (obtained
                                               year. premium MSR buyer                  months, plans on buying            accessorized MSR, high-spend on              accessories in next year          MSR in 2020 or 2021)
                                            (41500 for MSR), High-spend                              accessories                  accessories, recent buyer
                                                      accessories, heavily
                                              accessorized, recent buyer

Place of Purchase                                 Mom & Pop Retail Store                              Gun Show                       Gun show, custom built                Chain/Big-Box Retail      Bought as kit/custom-built

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MSR Clusters Summary
                       Clusters: Makeup of MSR Owners & Total MSRs Owned


                                                             % of owners          % of MSRs



          Law Enforcement & Competition                        18% =Al
                                                                     lllllllllllllll 24%




                 Younger Casual Hunter                          17% MM 13%




                 Affluent Gun Enthusiast                      23%                        27%




                               Low-Use                        21% M            IN 11%




                      Hunting Aficionado                      21% MAllllllllllll
                                                                               llll 25%




                                                                                                                    65.
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                                                                                                                x   OOO164
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How to Read Cluster Graphs

In the cluster graphs, the overall MSR sample profile is represented by avalue of 0. The index is calculated by
dividing the profile of the cluster (percentage of that cluster for acategory) by the profile of the total MSR population.
An index of 20 means the cluster is 20% more likely to exhibit that behavior or be apart of that group. For examples,
MSR owners in Cluster 1(Law Enforcement & Competition) have an index of 37 for ages under 45 —this means a MSR
owner in this cluster is 37% relatively more likely to be under 45 years old compared to the overall MSR user
population.


We describe this as arelative measure since it does not account for the percentage of the MSR owner population.
Using our previous example, MSR owners in Cluster 1(Law Enforcement & Competition) have an index of 37 for ages
under 45; this does not mean MSR owners under 45 form the majority of Cluster 1, only that they're over-represented
compared to the overall MSR owner population.




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 Cluster 1: Law Enforcement & Competition                                                                                                                              Index (All MSR Owners =0)
                                Own 1MSR       -67
                                Own 2MSR               -33       —
                               0wn3+MSR                                        —                 41
                                   Under45                                     —             37
                                    45to54                                     —       17
                                                                                                                                                       The Law Enforcement & Competition Cluster accounts for 18% of MSR owners.
                                        55                 -28                                                                                         They tend to be:
                             Range Wmber                                           3
                               Non-n,ember                           .4   ,
                                                                                                                                                           Owners of 3+ MSRs
          >'                  3times or less               -27
                               4to 11 times                 -19      —
                              12 to 23 times                                           23
                                                                                                                                                       •   Under 45 years old
         a-              More than 24 times                                                                           97
    IM   L4
                                MUaryfL.E.                                                            56
                                                                                                                                                       •   Avid users of MSR
                           Non-MlItaryfL.E.           -34
          a                          465k            -43    —
          B
                              $65kt0$llck                                              22
                                                                                                                                                       •   From amilitary/law enforcement background
          8
                                  >$11O.lk                                 U       7
     a                         No bachelors                                '4                                                                          •   Those with income of $65k to $llOk
                                Bathebrs+                            -4'
                          Tart ShootMSR                                            3
                          Competition Shoot                                                                                                            •   Users of MSR for work/law, competition shooting
                                                                                                            71
         .5
                         Hunting Using MSR                                                        51
                   Long-range shooting MSR                                                             61                                              •   Those with kids at home
                     Use MSR for WoridLaw                                                                                            271
               Not Used MSR Last 12 Nbnths           -39     —
         -8                    Kids flhome
                                                                                                                                                           Very likely to buy new MSR in next 12 months, apremium buyer of MSRS
                                                                                        25
                            Nolddsinhome                    -17                                                                                            (spending more than $1500 most recently acquired MSR), high-spenders
                              Recent Bu yer                                S9                                                                              on accessories
               Premium MSR Buyer (>$1500)                                  —                 38
         0
                  Heavily Aa,sesorleedMSR                                  —                 37
                    High Spend Accessories                                 —                 37
                Very Lilrelyto Buy New MSR                                 -                                73
                    Plan to Buy Accessories                                    2
                             Home defense                                 —                 33
                                   Hunting                                                                       86
         .8'         Profess bnalob-related                                                                                                295
                       Competition shooting                                                                                129


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                                                                                                                                                                                                                       67
                                                                                                                                                                                                                       OOOi6
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Cluster 2: Casual Hunter                                                                                                               Index (All MSR Owners = 0)

                         Ownl MSR                                                    40
                         0wn2 MSR                                               27
                                                                                                                       The Casual Hunter Cluster accounts for 17% of MSR owners. They tend to be:
                       0wn3+ MSR                 -27
                            Under 45                                                 41
                              45 to 54           -26                                                                   •   Owners of 1MSR
                                  55+                   -11   —
                     Range Member                 -21
                                                                                                                       •   Under 45 years old
                        Non-member                                             23

  a,                  3tines or less                                     14
                        4t0   11 times                              .4                                                 •   Not members of ashooting range
                       12 to 23 times
  U-              More than 24 times
                                                                                                                       •   Casual users, using their MSR 3times or less in the past 12 months
 'SW                     MI6ary/L.E.
                    Non-Military! L.E.                                   13
                                <$65k                                                                     178          •   Not from amilitary or taw enforcement background
   E                                                          -2   I
                       $65k to Slick
   8
                            >$110.1k -85                                                                               •   Those with income less than $65k
                        No bachelor
                                  s                                                  38
                          Bactrebrs+       -39
                   Tart ShootMSR                                    '3
                                                                                                                           Those without abachelors degree
                   Competition Shoot                          -3.

  5
  .
                  Hunting Using MSR                                 —           26                                         Users of MSRs for hunting and long-range shooting
            Long-range shooting MSR                                 —    10
              UseMSR for WorWLaw           -38
        Not Used MSR Last 12 Months                    -17
                                                                                                                           Those without kids at home
                        Kids in home                   -18
                     Noiridsin hm,e                                                                                    •   Very Likely to buy new MSR in next 12 months and plan to buy
                        Recent Buyer                          -4.
                                                                                                                           accessories.
        Premium MSR Buyer (>$1500)                 -21
   0
   'V
           Hea vi
                lyAccsesorleed MSR                     -16
             High Spend Accessories                -22
                                                                                                                           Owners of MSRs for hunting and self-defense
          Very Likelyto Buy New MSR                                      10
              Plan to Buy Accessories                                     14
                       Home dense                                               28
                               Hunting                                               38
              Profeusbnal4ob-related               -20
                 Competition shoshng
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Cluster 3: Affluent Gun Enthusiast                                                                                                                               Index (All MSR Owners =0)

                               Ownl MSR                           -40
                               0wn2 MSR
                                                                                                                                                The Affluent Gun Enthusiast Cluster accounts for 23% of MSR owners. They
  Co

                              0wn3+MSR
                                  Under 45                                           -16
                                                                                                                                                tend to be:
        C,
                                   45 to 54
                                       55+                                                                                                       •   Owners of 3+ MSR
                           Range Member                                                                               31
                              Non-member                            -34
                            3times or less
                                                                                                                                                     45 to 54 years old
                                                                                             -7
                              4 t 11 times
                             12 to 23 times                                                                 19                                       Members of ashooting range
                       More than 24 times                                                   -8
                               MRaryfL.E.                               -32
                         Non-M4tary L.E.
                                                                                                                                                     Frequent users, using their MSR 12 to 23 times in the last 12 months
                                                                                                            19
                                     <$65k            -66
                            $65k to $1 1Ck                                          -19                                                         •    Not from amilitary or law enforcement background
                                 >$1 10.1k                                                                                 41
                             No bachelor
                                       s                                      -25
                               Bathers+
                                                                                                                                                •    Those with income greater than $llok
                                                                                                                 26
                        Tart ShootMSR                                                                  '2
                        Competition Shoot                                                                                            65         •    Those with abachelors degree
       sr              Hunting Using MSR            -70
                 Long-range shooting MSR                                                    -7    —
                   Use MSR for WorWLaw
                                                                                                                                                •    Users of MSRs for competition shooting
                                                            -57
             Not Used MSR Last 12 Months                                              -14
                             Kids in home                                                               0                                       •    Premium MSR Buyers ($15UO on most recent MSR, heavily
                          No Iddstn hone                                                               '2                                            accessorized and high spender on accessories
                             Recent Buyer
             Premium MSR Buyer (>$1500)                                                                          26
       e        Hea, Amserbed MSR                                                                            23
                                                                                                                                                •    Owners of MSRs for competition shooting
                  High Spend Ac cessories                                                                   21
       °-     Very Likely to Buy New MSR                                                    -8
                  Plan to 54ry Ac cessories                                                      -4-
                            Home defense                                            -16
  0(0

                                   Hunting    -91
                   Profess bnaIob-related           -70
                     Competition shooting                                                                                       48



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                                                                                                                                                                                                            NS;a
                                                                                                                                                                                                                     69
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Cluster 4: Low-Use Self Defense                                                                                                             Index (All MSR Owners =0)

                            Own MSR                                                                           116

"   C
                            0wn2 MSR                                                                34                     The Low-Use Self Defense Cluster accounts for 21% of MSR owners. They
                           0wn3+ MSR                 -63
                                                                                                                           tend to be:
                               Under 45                                          -4   ,

                                  45 to 54                                -18
                                      55+                                                 —    10                          •   Owners of 1MSR
                         Range Member
                            Non-member                                                         12                          •   55 years old or older
    >                     3tines or less                                                            35
                            4t0   11 times                                      -8

    L                      12 to 23 times
                      More than 24 times            -66
                                                                 -39                                                       •    Not members of ashooting range

,nw                          MUarytLE.                                                    —9                               •    Infrequent users, using their MSR 3times or less in the last 12 months
                        Non-Miltaryf L.E.                                        -5   -

    0                               <$65k                                                           37
    E
                           $65k to $llfk                                                       11                          •    Slightly more likely to be from amilitary or law enforcement background
    8
                                  4110.1 k                              -26
                            No bachelors
                                                                                                                           •   Those with income less than $65k
                              Bathebrs+
w
                       Tart Shoot MSR
                       Competition Shoot           -71
                                                                                                                           •   Those who did not use their MSR in the last 12 months
    .0                Hunting Using MSR                           -37
    .5
                Long-range shooting MSR
    '8                                                     -50
                                                                                                                           •   Those with no kids at home
                  Use MSR for WorWLaw                     -55
            Not Used MSR Last 12 M,nths                                                                  93
    a                       Kids in home                                        -9    —                                    •    Less likely to buy new MSR or be apremium buyer
                         No kids in home                                                  .5
                           Rent Buyer                                   -25
                                                                                                                           •    Owners of MSRs for home defense
    ,       Prem i
                 um MSR Buyer (>$1500)                                 -28
               Heavily Arererbed MSR                               -33
                 High Spend Ac ce ssories                        -41
        -    Very Likely to Buy New MSR                    -51
                  Plan to Buy Accessories                                       -7    -
                           Home dense                                    -22
 0(0
                                   Hunting          -68
                  Profess inaiob-related           -69
                     competition shooting    -94




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Cluster 5: Hunting Aficionado                                                                                                                                                Index (All MSR Owners = 0)
                          Own 1MSR                                 -50
                          0wn2 MSR                                           -25
                                                                                                                                                          The Hunting Aficionado Cluster accounts for 21% of MSR owners. They tend to
                       Own 3+ MSR                                                                                               31
                            Under 45                                 -45
                                                                                                                                                           be:
                              45 to 54
                                  55+                                                                                      21                              •     Owners of 3+ MSRs
                     Range Member                                                         -9    —
                        Non-member                                                                       —       10
   >'                 3times or Less                                               -17
                                                                                                                                                           •     55 years old or older


q
                        4t 11 times                                                                      —            16
                       12 to ZI times                                                                    -5                                                •     Not members of ashooting range
                  More than 24 times
                          Military/L.E.                                                         -3   -
                    Non-Mihtar    L.E.
                                                                                                                                                           •     Occasional MSR users, using their MSR 4to 11 times in the last 12
                                                                                                             2
                                 465k            -76                                                                                                             months
  E
                      $65k to $llo                                                         -8    —
  8
                            >$110.lk                                                                                                 44
                                                                                                                                                           •     Slightly more likely to not be from amilitary or law enforcement
                       No bachelors                                                        -8
                          Bathebrs+
                                                                                                                                                                 background
                  Tart ShootMSR                                                                          -4
                  Competition Shoot                          -58                                                                                           •     Those with income of greater than $llok
  Sr             Hunting Using MSR                                                                                                        52
            Long-range shooting MSR                                                                  0
              Use MSR for WorldLaw
                                                                                                                                                           •     Those with abachelors degree
                                                -79
        Not Used MSR Last 12 Mnths                                         -30
                       Kids in home                                                                          2                                             •     Those used their MSR for hunting in the last 12 months
                     No Idds In home
                       Resent Bu yer                                                                             11
                                                                                                                                                           •     Recent buyers of aMSR (in 2020 or 2021)
        Premium MSR Buy     (>$1500)                                               -16
  a
           Heanily AmsesereedMSR                                                         -10    —
             High Spend Pccesseries                                                                                                                        •     Less likely to buy new MSR or be apremium buyer
  a-     Very Li kely to Buy New MSR                                                      -9
             Plan to Buy Accessories
                                                                                                                                                           •     Owners of MSRs for hunting
                      Home dense
00)
                              Hunting                                                                                                          65
80
ru-0          Profess bnal4ob-mlated      -86
                Competiar sho oting                    -69



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       Respondent Profile: Organizations

                  Current Membership or Recent Donation to Organizations
                                                                                                      • When asked what organizations they are amember of or
                                                              0%          25%        50%    75%
                                                                                                        recently donated to, the most-selected organization was
                          National Rifle Association (NRA)                                 61%          the NRA (61%), chosen more than twice as much as any
                           Gun Owners of America (GOA)                         25%
                                                                                                         other organization.
                                        None of the above                     21%
                                                     Other                19%
                                                                                                      • 21% of MSR owners are not members of or recently
USCCAIDelta Defense (U.S. Concealed Carry Association)                    17%
                                                                                                        donated to any organizations listed.
        The National Shooting Sports Foundation (NSSF)                  12%
                                          Ducks Unlimited               10%
                                                                                                         12% are members or recently donated to the NSSF.
         International Defensive Pistol Association (ID PA)         9%
    United States Practical Shooting Association (USPSA)            9%
                                                                                                         Of the 19% who selected "Other" organizations, the most
                          Rocky Mountain Elk Foundation
                         National Wild Turkey Federation                                                 common mentions were:
                            North American Hunting Club                                                    • Firearms Policy Coalition
                                        Pheasants Forever                                                  • Liberal Gun Club/Liberal Gun Owners
     International Practical Shooting Confederation (I PSC)        %                                       • Second Amendment Foundation
                                       Whitetails Unlimited
                                                              %
                                                                                                           • National Skeet Shooting Foundation
                                              Buckm asters 13 %                                            • National Sporting Clays Association
                                                Safari Club        2%




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Respondent Profile: MilitarylLaw-Enforcement

                                                                                          Military/Law Enforcement Affiliation
            Active or Veteran/Retired Member of Law
                       Enforcement/Military                  40%    35%       30%   25%     20%   15%   10%    5%    0%

                                                                   34%                                               Army (veteran)
                                                                                                                     Air Force (veteran)
                                                                                                                     Local Law Enforcement (veteran)
                                                                                                                     Navy (veteran)
                                                                                                  13%                Marines (veteran)
                                                                                                    11%              National Guard (veteran)
                                                                                                        9%           Reserves (veteran)
                                                                                                           7%        Local Law Enforcement (active)
                                                                                                            6%       Other Law Enforcement (veteran)
                                                                                                            6%       State Law Enforcement (veteran)
                                                                                                             5%      Federal Law Enforcement (veteran)
                                                                                                             5%      Army (active)
                                                                                                               3%- State Law Enforcement (active)
                                                                                                                3%   Federal Law Enforcement (active)
                                                                                                                3% — National Guard (active)
          Military/Law-enforcement (grouped)          %ofthose                                                  2%   Other Law Enforcement (active)
                                                                                                                2% — Air Force (active)
          Veteran military                                 82%                                                  2% — Coast Guard (veteran)
                                                                                                                2%   Reserves (active)
          Veteran Law enforcement                          26%                                                   2%  Navy (active)
                                                                                                                 2%  Marines (active)
          Active Law enforcement                            11%                                                  2%  Coast Guard (active)
                                                                                                                 2%  Space Force (active)
          Active military                                   9%                                                    1% Space Force (veteran)



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                                                                                                                                      W       74
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Respondent Profile: Age, Gender
                         Gender                                                                                  Age

                               Prefer not to answer                       30%                                                            27%

                                                                                                            )


                                                                                                                IIII
                  Female...             2°!                                                                                                           2
                                                                          25%                                                 22%4%
                                                                                           Avg: 55 years
                                                                          20%                                   17%
                    20    \1
                                                                           15%



                                                                                                   a
                                                                                                   9%
                                                                           10%




                                                                                     18to24      25to34     35 to 44         45 to 54   55 to 64      65+




                                                                                                        Race/Ethnicity

                                                                                    100%         50%            0%

                                                                                    88%                              White ICaucasian
      96% of respondents are Mate.
                                                                                                           3% I Multi-racial
                                                                                                           3%        Hispanic/ Latino
• The average age of respondents is 55 years
                                                                                                           2%        Other
  old. Only 27% are under the age of 45.
                                                                                                           2%        Asian IPacific Islander

                                                                                                           2%        Black IAfrican-American
      88% of respondents are White/Caucasian.
                                                                                                            1%       American Indian IAIaska Native




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      Respondent Profile: Martial Status, Shooting Activities with Spouse

                                     Marital Status                                       MSR Activities with Spouse
                           0%         20%      40%    60%    80%             100%             50%          0%

                                                                   -   I.
                Married                                      74%                        57%                     Goes target shooting with me


Single or Never married               13%                                                      31%              Does not own an MSR, and has no interest in owning one


 Separated or Divorced               9%
                                                                                                24%             Has no interest in target shooting orfirearrns

       Prefer not to say   1    3%
                                                                                                22%             Owns his/her own MSR

               Widowed          2%
                                                                                                     10%        Does not own an MSR, but is interested in purchasing one



                            74% of respondents are married.


                     • Of these MSR owners, over half (57%) say their spouse
                       accompanies them for target shooting. Nearly aquarter, 24%, say
                           their spouse has no interest in target shooting or firearms.



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      Respondent Profile: Education

                            Highest Level of Education Completed


                                            0%     5%   10%   15%     20%   25%    30%        35%


                        Bachelors degree                                                29%


      Some college but did not graduate                                           26%


                    Post-graduate degree                             16%


                                                                14%
                       Associate degree                                                       • 45% of respondents have attained at least a
                                                                                                bachelors degree (29% have bachelors, 16% post-
High school graduate or GED equivalent                    10%
                                                                                                    graduate).
                Other professional degree    -4%
                                                                                              • One-quarter of MSR owners have attended some
                Some high school or less     11%                                                college but did not graduate.




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                                                                                                                                                  77
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Respondent Profile: Income

                      Estimated Yearly Household Income
                                                                                             Avg: $110,934

                               0%   5%     10%         15%     20%
                                                                                          $85k or Less: 37%
       Under $25,000                                                                     More than $85k: 52%
   $25,000      -    $35,000

   $35,001      -    $45,000
   $45,001 —$55,000

   $55,001 —$65,000
   $65,001      -    $75,000                                            • The average yearly household income for
   $75,001      -    $85,000
                                                                          respondents is $110 ,
                                                                                              934.
   $85,001      -    $95,000
  $95,001 —$110,000                              11%                    • More than half of MSR owners are in
 $110,001 —$150,000                                      15%
                                                                          households with an annual income of
 $150,001 —$200,000                           10%
                                                                          greater than $85,000.
 $200,001   -       $250,000         5%
  More than $250,000
     Prefer not to say                           11%
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Respondent Profile: State, Household Children
                                                                           State
 Do you have any children living with you?              10%         8%      6%         4%           2%   0%
                                                              9%;                                          Texas

      Prefer not to answer                                                   5%                            Californ ia
                                                                                   5%                      Florida
                                                                                    4% om                  Pennsylvania
                                                                                      4%                   Michigan
                                                                                      4%                   Oho
                                                                                       4%                  Virginia
                                                                                          3%               North Carolina
                                                                                          3%               Washington
                                                                                          3%               Tennessee
                                                                                           3%              Georgia
                                                                                            3%             Arizona
                                                                                            3%             Colorado
                                                                                             3%            Illinois
                                                                                             3%            Indiana
                                                                                             3%            Missouri
                                                                                             2%            Minnesota
                                                                                             2%            New York
                                                                                             2%            Oregon
                                                                                              2%           Wisconsin
                                                                                               2%          South Carolina
                                                                                                           Arkan sax
  Nearly two-thirds of respondents do not have                                                             Nevada
                                                                                                           Kentucky
 any children living with them.                                                                            Oklahoma
                                                                                                           Utah
                                                                                                           New Jersey
                                                                                                           Alabama
 The states with the most respondents are                                                                  Iowa
                                                                                                           Kansas
 Texas (9%), California (5%), and Florida (5%).                                                            Maryland
                                                                                                           Massachusetts
                                                                                                           Con necticut
                                                                                                           Idaho
                                                                                                           Nebraska
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Respondent Profile: State, Household Children

          10%             9.0%




                                                                                           1%




                1%




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                                                                                                       -aw
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                                 NSSF O
                                 The Firearm Industry
                                 Trade Association


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